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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 REGINA LEWIS,

                                 Plaintiff,

                     -against-
                                                                 20-CV-7971 (CM)
 LISA SMITH; KENNETH KARAS;
 MICHAEL CATANIA, TARHIS, CATANIA,                              CIVIL JUDGMENT
 LIBERTH, MAHON & MILLIGRAM PLLC;
 LARA KASPER-BUCHAREFF, LEGAL
 SERVICE OF THE HUDSON VALLEY,

                                 Defendants.

         Pursuant to the order issued October 14, 2020, dismissing the complaint,

         IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed under

28 U.S.C. § 1915(e)(2)(B)(i).

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     October 14, 2020
           New York, New York

                                                          COLLEEN McMAHON
                                                      Chief United States District Judge
